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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Mohammad Bozorgi, et al.,

                                  Plaintiff(s),
v.                                                   Case No. 2:24−mc−51329−MAG−DRG
                                                     Hon. Mark A. Goldsmith
Cassava Sciences, Inc., et al.,

                                  Defendant(s),



                          NOTICE OF REMOTE MOTION HEARING

  PLEASE TAKE NOTICE that a remote hearing has been scheduled before District Judge
Mark A. Goldsmith for the following motion(s):

                 Motion that Initiates a Miscellaneous Case − #1



       • MOTION HEARING: December 18, 2024 at 02:00 PM

     The public may access the audio proceedings with the following connection information.

     PHONE NUMBER: +1 646 828 7666 US
     MEETING ID:   161 567 5127


   Attorneys and parties required to attend the hearing will be sent connection information in a
separate email.

   ADDITIONAL INFORMATION:             The Court will email the Zoom link to the attorneys of
record separately

                                              By: s/C Ciesla
                                                  Case Manager

Dated: December 11, 2024
